Case 0:17-cv-60426-UU Document 364 Entered on FLSD Docket 11/27/2018 Page 1 of 6




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


   ALEKSEJ GUBAREV,
   XBT HOLDING S.A., and
   WEBZILLA, INC.                                                         Case No.
     Plaintiffs,
                                                                     0:17-cv-60426-UU
   v.

   BUZZFEED, INC. and
   BEN SMITH
     Defendants.


   PLAINTIFFS’ REPLY IN SUPPORT OF MOTION IN LIMINE #3 TO (1) LIMIT THE
   INTRODUCTION OF TESTIMONY OR EVIDENCE CONCERNING IRRELEVANT
    PORTIONS OF THE “DOSSIER” AND (2) PRECLUDE THE INTRODUCTION OF
                  TESTIMONY OR EVIDENCE CONCERNING
                 UNRELATED PUBLIC RELATIONS EFFORTS

                                                  Facts
         Given Defendants’ position that the so-called “Dossier” is a singular document and the
  December Memo, which is the only document to discuss Plaintiffs, cannot possibly be discussed
  in isolation, it is important to once again outline the relevant facts with respect to the creation of
  the collection of memos that Defendants decided to call the “Dossier.”
         On June 26, 2016, Christopher Steele


                                                                                                authored
  a memo he entitled “COMPANY INTELLIGENCE REPORT 2016/080,”
                                        In July of 2016, Mr. Steele authored four more memos,
  “COMPANY INTELLIGENCE REPORT 2016/086,” “COMPANY INTELLIGENCE REPORT
  2016/94,” “COMPANY INTELLIGENCE REPORT 2016/095,” and “COMPANY
  INTELLIGENCE REPORT 2016/097.”
                         Mr. Steele authored four more memos in August of 2016, “COMPANY
  INTELLIGENCE REPORT 2016/100,” COMPANY INTELLIGENCE REPORT 2016/101,”
  “COMPANY INTELLIGENCE REPORT 2016/102,” and “COMPANY INTELLIGENCE

                                                     1
Case 0:17-cv-60426-UU Document 364 Entered on FLSD Docket 11/27/2018 Page 2 of 6




  REPORT 2016/100”                                                                  He wrote three
  more memos in September of 2016 (“COMPANY INTELLIGENCE REPORT 2016/111,”
  “COMPANY INTELLIGENCE REPORT 2016/112,” and “COMPANY INTELLIGENCE
  REPORT 2016/113”),                                                                   He wrote
  and transmitted four more memos in October of 2016 (“COMPANY INTELLIGENCE REPORT
  2016/130,” “COMPANY INTELLIGENCE REPORT 2016/134,” “COMPANY
  INTELLIGENCE REPORT 2016/135,” and “COMPANY INTELLIGENCE REPORT
  2016/136.”).




                                                                              None of the Pre-
  Election Memos made any mention of Plaintiffs and none of the Pre-Election Memos are the
  subject of the present litigation.




          On December 13, 2016, Mr. Steele produced a final memo, “COMPANY
  INTELLIGENCE REPORT 2016/166” (the “December Memo”),




                                                                    It is the December Memo which
  contains the defamatory statements about Plaintiffs and which is the subject of this action.

                                                   2
Case 0:17-cv-60426-UU Document 364 Entered on FLSD Docket 11/27/2018 Page 3 of 6




          On January 10, 2017, Buzzfeed published all 17 memos, which it acknowledged to be a
  “collection of memos written over a period of months.”
                                              Argument
  I.      Calling the Seventeen Separate Memos a “Dossier” Does Not Make them a Single
          Document.
          In a variety of interviews and opinion pieces, Defendants have begun to preview
  Defendants’ trial strategy – asserting that the publication of the 17 memos was essential for the
  public to understand the news of the last two years. See, e.g., Ben Smith, “I’m Proud We
  Published the Trump-Russia Dossier,” The New York Times (Jan. 9, 2018), attached hereto as
  Exhibit 1. As examples, Mr. Smith has pointed to an open letter from then-Senator Harry Reid
  to then-FBI Director James Comey in which Senator Reid commented that “it has become clear
  that you possess explosive information about close ties and coordination between Donald Trump,
  his top advisors, and the Russian government” (see Exhibit 2 hereto) and the fact that Senator
  John McCain provided “the Dossier” to James Comey. But these two examples illustrate part of
  the problem: Senator Reid’s letter was written in October of 2016 and Senator McCain’s meeting
  with James Comey was on December 9, 2016 – both of which occurred before the December
  Memo was even written.
          And herein lies (at least part) of the problem: even though the memos were all written on
  different dates,                       shown to different people and,
                     Defendants want to present their arguments about publishing the memos as if
  they were produced on the same date and were a monolithic whole. How, for example, is it fair
  or relevant for Defendants to be allowed to argue to the jury that they published the “Dossier,”
  because Senator Reid was referring to it in his letter to Director Comey? Although Senator Reid


                                                   3
Case 0:17-cv-60426-UU Document 364 Entered on FLSD Docket 11/27/2018 Page 4 of 6




  may have been referring to one or more of the 16 pre-election memos, he most certainly was not
  referring to the December Memo (which had not yet been written). The same holds true for the
  documents provided by Senator McCain to Director Comey – they could not have included a
  memo that had not been written at the time the documents were handed over. And yet, in their
  Opposition (and other filings with the Court), Defendants have claimed that they should be
  permitted to justify their publication of the December Memo by references to the “Dossier”
  being discussed and acted upon by government officials such as Senators Reid and McCain. In
  short, Defendants are asking for the Court’s imprimatur on its efforts to mislead the jury into
  believing that the December Memo was being referred to by government officials, when it is
  clear that it was not.
            Nor is Defendants’ argument that the “Dossier” was a “single document” which could
  only be published in whole or not at all remotely plausible. Mr. Bensinger took 35 separate
  photographs of the pages of the dossier with his iPhone. It was published as a single PDF
  document because that is how Defendants chose to publish it.
            Even more perplexing is Defendants’ contention that they should be permitted to present
  the jury with all 17 memos in order to defend against an argument that they should have redacted
  Plaintiffs’ names prior to publication because “Defendants will need to demonstrate that any
  argument to redact Plaintiffs from the ‘December memo’ would likely have necessitated
  redacting numerous other persons and/or information as well throughout the Dossier. If so, then
  the published document would have been worthless, and unlikely to have served the public
  interest even today.” Opposition, p. 5. Defendants, however, have (at least) one significant
  hurdle to overcome in making this argument: following the filing of this action, Defendants did
  redact Plaintiffs’ names from the Dossier, without making any additional redactions and,
  seemingly, without rendering the document worthless. Facts, as the saying goes, are pesky
  things.
            Less perplexing is Defendants’ desire to assert that, for the purposes of considering
  punitive damages, the jury must consider the publication of all 17 memos (and Defendants’
  justifications for doing so) and not simply its publication of the document that contained the
  defamatory statements. As Plaintiffs have noted elsewhere, this would be much like insisting
  that the jury should not consider the publication of a defamatory article printed in the Sunday
  New York Times, but rather must consider the New York Times’ motivation in publishing the

                                                     4
Case 0:17-cv-60426-UU Document 364 Entered on FLSD Docket 11/27/2018 Page 5 of 6




  entire Sunday Times as a whole. That is an absurdity. The fact that Defendants have combined
  seventeen different documents into one file does not make the seventeen documents one
  indivisible whole.
  II.    Plaintiffs General Public Relations Efforts are Irrelevant to the Issues to be
         Presented to the Jury.
         Finally, the Parties may not actually have much of a disagreement on this point (for
  purposes of this motion at least). Plaintiffs in their Motion sought only to preclude Defendants
  from attempting to introduce as evidence Plaintiffs’ general attempts to obtain publicity for their
  products and services, such as the emails from Plaintiffs’ public relations firms seeking to
  comment on technology issues and press releases announcing new products and services.
  Defendants appear in their Opposition to acknowledge that, once the Court has ruled on the
  question of whether Plaintiffs are private figures, such evidence would be irrelevant for the jury.
  To the extent that Defendants disagree and argue that they should be allowed to present evidence
  of
                          those issues are addressed in other motions and were not intended to be
  the subject of the present motion.
                                               Conclusion
         For the reasons stated hereinabove, the Court should issue an order limiting Defendants’
  arguments and presentation of testimony concerning the so-called Dossier as a whole and
  precluding Defendants from offering testimony or evidence concerning Plaintiffs’ general efforts
  to obtain publicity for their businesses, products, or services.




                                                    5
Case 0:17-cv-60426-UU Document 364 Entered on FLSD Docket 11/27/2018 Page 6 of 6




  Dated: November 20, 2018

  Respectfully Submitted:

   /s/ Evan Fray-Witzer
   Evan Fray-Witzer (pro hac vice)
   CIAMPA FRAY-WITZER, LLP
   20 Park Plaza, Suite 505
   Boston, Massachusetts 02116
   Telephone: 617-426-0000
   Facsimile: 617-423-4855
   Evan@CFWLegal.com

   /s/ Valentin Gurvits
   Valentin D. Gurvits (pro hac vice)
   Matthew Shayefar (Fla. Bar No. 0126465)
   BOSTON LAW GROUP, PC
   825 Beacon Street, Suite 20
   Newton Centre, Massachusetts 02459
   Telephone: 617-928-1804
   Facsimile: 617-928-1802
   vgurvits@bostonlawgroup.com
   matt@bostonlawgroup.com

   /s/ Brady J. Cobb
   Brady J. Cobb (Fla. Bar No. 031018)
   Dylan Fulop (Fla. Bar No. 123809)
   COBB EDDY, PLLC
   1112 North Flagler Drive
   Fort Lauderdale, Florida 33304
   Telephone: 954-527-4111
   Facsimile: 954-900-5507
   bcobb@cobbeddy.com
   dfulop@cobbeddy.com

   Attorneys for Plaintiffs




                                             6
